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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



AMERICAN MERCHANT BANKING GROUP, INC.,
                                                                 Case No. 16-cv-7188 (PKC)
                                  Plaintiff,


                     -against-
                                                                          USDCSDNY
PALLADIUM     EQUITY PARTNERS, LLC,                                       DOCUMENT
PALLADIUM     CAPITAL MANAGEMENT III, LLC,
PALLADIUM     EQUITY PARTNERS III, LP, and                               ELECTRONICALLY FILED
PALLADIUM     EQUITY PARTNERS IV, LP,                                    DOC#:     ~~~~~~~~-




~~~~~~~~~~~~~~~~~~~-----'
                                  Defendants.
                                                          /~             DATE FILED:           /   o2 -6 - /C


                STIPULATION       AND[;-;;.~;.,,,.£       PROTECTIVE ORDER

I.     PURPOSES AND LIMITATIONS

       Discovery requests and initial disclosures served in the above-captioned action (the

"Action") may call for the production of trade secrets or other confidential research,

development, or commercial information within the meaning offed. R. Civ, P. 26(c) or other

private or competitively sensitive information for which special protection from public

disclosure and from use for any purpose other than prosecuting the Action is warranted.

       Accordingly, the Parties hereby stipulate to and petition the Court to enter the following

Stipulated Protective Order ("Order") pursuant to Fed. R. Civ. P. 26(c) and Fed. R. Evid. 502(d).

The Parties acknowledge that this Order does not confer blanket protections on all discovery.

II.    DEFINITIONS

       A.      Action: the action listed in the above caption.

       B.      Party: any party to the Action, including all of its officers, directors, and

               employees.
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C.   Non-Party: any entity that is not a named party to the Action.

D.   Discovery Material: all items or information, regardless of the medium or manner,

     generated, stored, or maintained, including, among other things, documents,

     testimony, interrogatory responses, transcripts, depositions and depositions

     exhibits, responses to requests to admit, recorded or graphic matter, electronically

     stored information, tangible things, and/or other information produced, given,

     exchanged by, or obtained from any Party or Non-Party during discovery in the

     Action, including all such items or information produced prior to entry of this

     Order.

E.   Confidential Material: any Producing Party (as defined below) may, subject to the

     provisions of this Order, designate as "Confidential" any Discovery Material that

     the Producing Party reasonably and in good faith believes constitutes and reveals

     confidential trade secrets, proprietary business information, non-public personal,

     information concerning individuals or other entities (including, but not limited to,

     name, Social Security numbers, home telephone numbers and addresses, tax

     returns, and medical, investment, credit and banking information).

F.   Highly Confidential Material: any Producing Party may, subject to the provisions

     of this Order, designate any Discovery Material as "Highly Confidential,'' if the

     Producing Party reasonably and in good faith believes the Discovery Material

     contains (i) trade secrets or other information that the party reasonably believes

     would result in competitive, commercial or financial harm to the disclosing party

     or its personnel, clients or customers; or (ii) material that a Producing Party

     believes in good faith would not otherwise be adequately protected under the




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     procedures set forth herein for Confidential Material.

G.   Producing Party: any Party or Non-Party that produces Discovery Material in the

     Action.

H.   Receiving Party: any Party or Non-Party that receives Discovery Material from a

     Producing Party.

I.   Designating Party: any Party or Non-Party that designates Discovery Material it

     produces as ''Confidential'' or "Highly Confidential."

J.   Protected Material: any Discovery Material that is designated as "Confidential" or

     "Highly Confidential"; provided, however, that "Protected Material" does not

     include information that is publicly available (except information that became

     publicly available as a result of a breach of this Order or any other confidentiality

     agreement or undertaking).

K.   Outside Counsel: attorneys, along with their paralegals, and other support

     personnel assisting with the Action, who are not employees of a Party but who are

     retained to represent or advise a Party in the Action.

L.   In House Legal Personnel: attorneys and other personnel employed by a Party to

     perform legal functions who are responsible for overseeing the Action for the

     Party.

M.   Counsel: Outside Counsel and In House Legal Personnel (as well as their support

     staffs, including but not limited to attorneys, paralegals, secretaries, and law

     clerks).

N.   Expert and/or Consultant: a person with specialized knowledge or experience in a

     matter pertinent to the Action, along with his or her employees and support




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               personnel, who has been retained by a Party or its Counsel to serve as an expert

               witness or as a consultant in the Action, and who is not currently an employee of

               a Party, and who, at the time ofretention, is not anticipated to become an

               employee of a Party. This definition includes a professional jury or trial

               consultant retained in connection with the Action.

       0.      Professional Vendor: a person or entity that provides litigation support services

               (e.g., photocopying; videotaping; translating; preparing exhibits or

               demonstrations; organizing, storing, or processing data in any form or medium)

               and their employees and subcontractors.

III.   SCOPE

       The protections conferred by this Order cover not only Protected Material (as defined

above), but also any information copied or extracted therefrom, as well as all copies, excerpts,

summaries, or compilations thereof, plus testimony, conversations, or presentations by Parties or

Counsel in settings that might reveal Protected Material. However, this Order shall not be

construed to cause any Counsel to produce, return, and/or destroy their own attorney work

product, or the work product of their co-counsel, created in anticipation of or in connection with

the Action.

IV.    DURATION

       The confidentiality obligations imposed by this Order shall remain in effect until the

Designating Party agrees otherwise in writing or this Court orders otherwise.

V.     DESIGNATING PROTECTED MATERIAL

       A.      Manner and Timing of Designations: Except as otherwise provided in this Order,

               or as otherwise stipulated or ordered, material that qualifies for protection under

               this Order must be clearly so designated before the material is disclosed or



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     produced. Designation in conformity with this Order requires:

      1.    for information in documentary form, that the Producing Party affix the

            legends "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" on the

            document.

     2.     for deposition transcripts and/or exhibits, that the Designating Party

            designate any portion of the testimony as "CONFIDENTIAL" or

            "HIGHLY CONFIDENTIAL'' in writing on or before the later of (i) thirty

            (30) calendar days after receipt of the final transcript, or (ii) the date by

            which any review by the witness and statement of changes to the transcript

            are to be completed under Fed. R. Civ. P. 30(e). Only those portions of the

            testimony that are designated for protection in accordance with the

            preceding sentence shall be covered by the provisions of this Order. The

            entire testimony shall be deemed to have been designated

            "CONFIDENTIAL" until the time within which the transcript may be

            designated has elapsed. If testimony is not designated within the

            prescribed time period, then such testimony shall not be deemed

            "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" except as ordered

            by the Court or as provided in Section V.B (Inadvertent Failures to

            Designate). Notwithstanding the preceding language in this paragraph, in

            the event that (i) a document produced and designated by a Non-Party as

            '"CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" is used as an

            exhibit in a deposition and (ii) counsel for the Non-Party is not present at

            the deposition, the Parties agree that the exhibit remains designated




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            "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" and that any

            testimony concerning the exhibit shall be deemed to have been designated

            in writing as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" as is

            required in this paragraph.

     3.     for documents produced in native format, that the Producing Party include

            the confidentiality designation ("CONFIDENTIAL" or "HIGHLY

            CONFIDENTIAL") on the placeholder page.

     4.     for reports created by an expert or consultant relying on or incorporating

            Protected Material in whole or in part, that the Party responsible for its

            creation include the confidentiality designation ("CONFIDENTIAL" or

            ''HIGHLY CONFIDENTIAL") on the report.

B.   Inadvertent Failures to Designate: If a Producing Party discovers that it produced

     material that was not designated as Protected Material or that it produced material

     that was designated as Protected Material but had designated that Protected

     Material in the incorrect category of Protected Material, the Producing Party may

     promptly notify all Parties, in writing, of the error and identify (by production

     number) the affected material and its new designation or re-designation.

     Thereafter, the material so designated or re-designated will be treated as Protected

     Material in conformity with the new designation or re- designation. Promptly

     after providing such notice, the Producing Party shall provide re-labeled copies of

     the material to each Receiving Party reflecting the change in designation. The

     Receiving Party shall make reasonable efforts to delete and replace the incorrectly

     designated material, and all copies thereof, with the newly designated material




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           and to destroy the incorrectly designated material. If corrected, an inadvertent

           failure to designate qualified information or items as "CONFIDENTIAL" or

           "HIGHLY CONFIDENTIAL" does not waive the Producing Party's right to

           secure protection under this Order for such material. If material is re-designated

           "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" after the material was

           initially produced, the Receiving Party, upon notification of the designation, must

           make reasonable efforts to assure that the material is treated in accordance with

           the provisions of this Order.

VI.   CHALLENGING CONFIDENTIALITY DESIGNATIONS

      A.   Meet and Confer: If a Party elects to challenge a Designating Party's

           confidentiality designation, it must do so in good faith and must begin the process

           by notifying the Designating Party in writing of its challenge and identifying the

           challenged material by production number. The objecting Party and the

           Designating Party shall, promptly after service of the written objections, meet and

           confer concerning the objection.

      B.   Judicial Intervention: If the Parties are not able to resolve a dispute about a

           confidentiality designation during the meet and confer process set forth in Section

           VI.A, above, the party challenging the designation may seek relief from the Court

            in accordance with its rules and procedures. In any judicial proceeding

            challenging a confidentiality designation, the burden of persuasion with respect to

           the propriety of the confidentiality designation shall remain upon the Designating

            Party. Until the Court rules on the dispute, all Parties shall continue to afford the

            material in question the level of protection to which it is entitled under the

            Designating Party's designation. In the event that the final ruling is that the


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            challenged material's designation should be changed, the Designating Party shall

            promptly reproduce copies of all materials with their designations removed or

             changed in accordance with the ruling.

VII.   ACCESS TO AND USE OF PROTECTED MATERIAL

       A.    Subject to any other written agreement among or between Producing Parties

             and/or Receiving Parties, a Receiving Party may access or use Discovery Material

            that is disclosed or produced by a Producing Party only in connection with the

             prosecution of, defense of, appeal of, attempted settlement of, or the enforcement

             of insurance rights with respect to, the Action. Except as required by law,

             Discovery Material may not be used for any other purpose, including, without

             limitation, any business or commercial purpose, any purpose related to any other

             investigation or proceeding, or evaluation of other potential claims unrelated to

             the causes of actions at issue in the Action. Protected Material may be disclosed

             only to the categories of persons and under the conditions described in this Order.

             Following the termination of the Action, each Receiving Party must comply with

             the provisions of Section X, below.

       B.    Disclosure of Confidential Material: Unless otherwise ordered by the Court or

             permitted in writing by the Designating Party, material designated

             "CONFIDENTIAL" may be disclosed only to the following persons:

             1.     the Receiving Party;

             2.     the Receiving Party's Counsel;

             3.     former officers, directors, and employees of corporate Parties to the extent

                    that such disclosure is reasonably necessary for the Action and who have

                     signed the "Agreement to Be Bound by Protective Order" (Exhibit A);


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     4.     Experts and/or Consultants retained by a Party or its Counsel in the Action

            who have signed the "Agreement to Be Bound by Protective Order"

            (Exhibit A);

     5.     the Court and its personnel, subject to the requirements of Sections IX and

            XIII below;

     6.     mediators or other third parties who are appointed by the Court or retained

            by the Parties for settlement purposes and their necessary personnel, and

            in the case of persons retained by the Parties, who have signed the

            ''Agreement to Be Bound by Protective Order'' (Exhibit A);

     7.     court reports and/or videographers, their staffs, and Professional Vendors

            to the extent that such disclosure is reasonably necessary for the Action;

     8.     the author, addressee(s), or recipient(s) of the document, or any other

            natural person who received or had access to such document during his or

            her employment as a result of the substantive nature of his or her

            employment position, or who is specifically identified in the document or

            its accompanying metadata;

     9.     deponents or witnesses in the Action, and their Counsel, to the extent such

            disclosure is reasonably necessary for the Action and who have signed the

            "Agreement To Be Bound By Protective Order" (Exhibit A);

      10.   any other person agreed to by the Designating Party in writing; and

      11.   any other person to whom the Court compels disclosure of the

            Confidential Material or to whom disclosure is required by law, subject to

            the requirements of Section XV below.




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       C.      Disclosure of Highly Confidential Material: Unless otherwise ordered by the

               Court or permitted in writing by the Designating Party, material designated

               "HIGHLY CONFIDENTIAL" may be disclosed only to any person permitted to

               receive Confidential Material under Section VII.B(2), (4), (5), (6), (7), (8), ( 10) or

               (1 I).

VIII. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Order, the Receiving

Party must, as soon as practicable, (a) notify in writing the Designating Party of the unauthorized

disclosures, (b) make reasonable efforts to retrieve all copies of the Protected Material, (c)

inform the person or persons to whom unauthorized disclosures were made of all the terms of

this Order, and (d) request such person or persons to execute the "Agreement To Be Bound by

Protective Order" (Exhibit A). The Parties agree that irreparable harm would occur in the event

of unauthorized disclosure of Protected Material. Accordingly, the Parties shall be entitled to

seek equitable relief, including specific performance, in the event of any unauthorized disclosure

of Protected Material.

IX.    FILING PROTECTED MATERIAL

       In the event that counsel for any Party determines to file or submit in writing to the Clerk

of Court's office any Protected Material, or any papers containing or making reference to the

substance of such material or information, the Party shall, in accordance with Rule 5 of the

Court's Individual Practices, first seek leave of the Court to file under seal the documents or

portions thereof containing or making reference to such material or information.

       Notwithstanding any other provision, no document may be filed with the Clerk under seal

without a further Order of this Court addressing the specific documents or portions of documents to



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be sealed. Any application to seal shall be accompanied by an affidavit or affidavits and a

memorandum of law, demonstrating that the standards for sealing have been met and specifically

addressing the applicability of Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-120 (2d Cir.

2006) and any other controlling authority. Unless otherwise ordered, a party seeking to file an

opposing party's confidential information shall so advise the opposing party fourteen (14) days in

advance specifying the precise portion of the information the party seeks to use, the general purpose

thereof and any redactions to which the party does not object. Within seven (7) days thereafter, the

party whose confidential information is sought to be used may make an application to seal in

accordance with the first paragraph of this Order, indicating the portion or portions of the

information it seeks to have sealed. Nothing herein is intended to alter or modify the applicability of

Rule 5.2, Fed. R. Civ. P., to this case. The redactions expressly authorized by Rule 5.2 may be made

without further application to the Court.

X.      FINAL DISPOSITION

        A.      Except as provided by law or other regulatory authority or unless otherwise

                ordered or agreed in writing by the Producing Party, within sixty (60) calendar

                days after the final termination of the Action, including any appeals, each

                Receiving Party shall undertake reasonable efforts to destroy or return to the

                Producing Party all Protected Material. In either case, the Receiving Party shall

                provide the Designating Party with a certification stating that it has taken

                reasonable efforts to destroy or return the Confidential or Highly Confidential

                Material, except for (1) such information or material that was transmitted

                electronically and whose removal or destruction from a Party's electronic systems

                would violate applicable federal or state law, rule or regulation, or policies and

                procedures reasonably designed to ensure compliance with such law, rule or



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      regulation, and that (2) information saved on backup media in an electronically

      stored format will be certified to have complied with the 60-day destruction

      period ifthe Party has a data destruction policy for the backup media resulting in

      the eventual destruction or overwriting of the electronically stored information.

 B.   If a Receiving Party takes the position that it cannot comply with the return or

      destruction provisions of this section within the 60-day destruction period, and

      that it must instead retain documents for a longer period of time pursuant to the

      "[e]xcept as provided by law or other regulatory authority'' provision of this

      section, then it must, in its certification, (i) state the law or other regulatory

      authority it believes requires it to retain those documents, and (ii) describe the

      documents it intends to retain pursuant to that law or regulatory authority.

      Notwithstanding this provision, as to those materials designated as Confidential

      Material or Highly Confidential Material that constitute counsel's work product,

      and pleadings, motion papers, deposition transcripts, and exhibits thereto, legal

      memoranda, and correspondence that were served in the Action, or filed with this

      Court, counsel may retain such documents, even if such materials contain

      Confidential or Highly Confidential Material, if such counsel otherwise comply

      with this Order with respect to such retained material. Any such archival copies

      that have been designated Confidential or Highly Confidential remain subject to

      this Order until the Producing Party agrees otherwise in writing or this Court

      orders otherwise.

 C.   This Order shall survive the termination of the Action, and this Court shall have

      continuing jurisdiction for enforcement of its provisions following termination of




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               the Action. No part of the restrictions imposed by this Order may be waived or

               terminated, except by written stipulation executed by Outside Counsel ofrecord

               for each Designating Party or by an Order of the Court for good cause shown.

XI.    A DESIGNATING OR PRODUCING PARTY'S USE OF ITS OWN
       DOCUMENTS

       Nothing in this Order shall be construed to limit in any way any Producing Party's,

Receiving Party's, or any other person's use of its own documents, nor shall it affect any

Producing Party's, Receiving Party's, or any other person's subsequent waiver of its own prior

designation with respect to its own Confidential Material or Highly Confidential Material.

XII.   CLAW-BACK OF PRIVILEGED MATERIAL

       A.      In order to claw back Discovery Material protected from disclosure under the

               attorney-client privilege, work product doctrine, and/or any other applicable

               privilege or immunity from disclosure that was produced inadvertently, the

               Producing Party must provide notice in writing to the Receiving Party specifying

               the production number of the Discovery Material it wishes to claw back, and the

               basis of the claim of attorney-client privilege, work product doctrine, and/or any

               other applicable privilege or immunity from disclosure, relied upon in support of

               its claw-back request.

       B.      Upon notice that a Producing Party wishes to claw back Discovery Material

               protected from disclosure under the attorney-client privilege, work product

               doctrine, and/or any other applicable privilege or immunity from disclosure that

               was produced inadvertently, the Receiving Party shall promptly undertake

               reasonable efforts to return to the Producing Party or destroy all summaries or

               copies of such documents, testimony, information, and/or things (notwithstanding




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      the final sentence of Section III regarding compilations and abstracts reflecting

      the protected material referred to in this Section), shall provide notice in writing

      that the Receiving Party has undertaken reasonable efforts to return or destroy

      such disclosed materials, and shall not use such items for any purpose until further

      order of the Court. In all events, such return or destruction and certification must

      occur within ten (I 0) business days of receipt of the request. Within twenty-one

      (21) business days of the notification that reasonable efforts have been taken to

      return or destroy the disclosed materials, the Producing Party shall produce a

      privilege log with respect to the disclosed materials. The return of any Discovery

      Material to the Producing Party shall not in any way preclude the Receiving Party

      from moving the Court for a ruling that the disclosed information was never

      privileged; however, the Receiving Party may not assert as a basis for the relief it

      seeks the fact or circumstance that such privileged documents have already been

      produced. Alleged privileged documents shall remain protected against disclosure

      and use during the pendency of any dispute over their status.

 C.   If during a deposition, a Party claims that a document being used in the deposition

      (e.g., marked as an exhibit, shown to the witness, or made the subject of

      examination) is subject to attorney-client privilege, work product doctrine, and/or

      any other applicable privilege or immunity from disclosure, it may at its sole

      election (a) allow the document to be used in the deposition without waiver of its

      claim of privilege or work-product protection or (b) instruct the witness not to

      answer questions concerning the document pending a prompt resolution of any

      disagreement concerning the document's privileged or work-product protected




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               status. If the Party allows the examination concerning the document to proceed

               on a non-waiver basis, the Parties shall sequester all copies of the purportedly

               privileged or work-product protected document. Immediately following the

               deposition, the Parties will commence the procedure outlined in the preceding

               paragraphs to address the claim of privilege or other protection, including the

               notice requirement set forth in Section XII.A. Until the dispute is resolved, all

               Parties and any other persons who have access to the transcript of such deposition

               shall treat that transcript as Confidential Material. If any Party instructs the

               witness not to answer questions concerning the document, the Parties will then

               cooperate in promptly submitting the issue of the document's status to the Court.

               If the document is ultimately determined not to be privileged or subject to other

               protection, the Party or entity asserting the claim of privilege will be responsible

               for ensuring that the deposing Party is given an opportunity to depose the witness

               about the document, which in the case of Party-witnesses (or their current

               employees) or any former employees of a Party who are represented by counsel

               for such Party shall be within thirty (30) calendar days of said determination, and

               in the case of other non-Party witnesses shall be at the earliest practicable time for

               the witness and its counsel.

XIII. USE OF DESIGNATED MATERIAL AT TRIAL

       The Parties agree to meet and confer concerning the use of any Protected Material at

hearings or at the trial of the Action not fewer than five (5) calendar days prior to any such

hearing or trial. Where a hearing or trial is scheduled on less than five (5) calendar days' notice,

the Parties agree to meet and confer as soon as practicable after receiving notice, but in any

event, not fewer than 24 hours in advance of the hearing or trial. The use of Protected Material at


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hearings or at trial shall not cause such Protected Material to lose its status as Protected Material.

XIV.     ATTORNEY RENDERING ADVICE

         Nothing in this Order will bar or otherwise restrict Counsel from rendering advice to his

or her client with respect to the Action or from relying upon or generally referring to Protected

Material in rendering such advice; provided, however, that, in rendering such advice or in

otherwise communicating with his or her client, the attorney shall not reveal or disclose the

specific content of Protected Material if such disclosure is not otherwise permitted under this

Order.

XV.      LEGAL PROCESS

         If a Receiving Party is served with a discovery request, subpoena, or an order issued in

other litigation, or receives some other form oflegal process from any court, federal or state

regulatory or administrative body or agency, legislative body or other person or entity, that seeks

disclosure of any information or items designated in the Action as "CONFIDENTIAL" or

"HIGHLY CONFIDENTIAL" the Receiving Party must notify, to the extent permitted by law,

the Designating Party, in writing (by electronic mail, if possible), and include with that notice a

copy of the discovery request, subpoena, order, or other form of legal process as soon as

reasonably practicable and in any event no later than ten (10) calendar days after receipt unless

production is required earlier, in which case the notice must be made in time for the Designating

Party to take steps as set forth below. The Receiving Party also must promptly inform the party

that caused the discovery request, subpoena, order, or other form of legal process to issue that

some or all of the material covered by the subpoena or order is the subject of this Order. In

addition, the Receiving Party must deliver a copy of this Order promptly to the party in the other

matter that caused the discovery request, subpoena, order, or other form of legal process to issue.

The Receiving Party shall not produce the requested Protected Material unless and until a court


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ofcompetentjurisdiction so directs, except ifthe Designating Party (a) consents, or (b) fails to

file a motion to quash or fails to notify the Receiving Party in writing of its intention to contest

the production of the Protected Material prior to the date designated for production of the

Protected Material, in which event the Receiving Party may produce on the production date, but

no earlier. In connection with any production of Confidential or Highly Confidential Material

subject to this Order, the Receiving Party shall request confidential treatment for the Confidential

or Highly Confidential material.

       The purpose of imposing these duties is to alert the interested parties to the existence of

this Order and to afford the Designating Party an opportunity to try to protect its confidentiality

interest in the matter or proceeding in connection with which the discovery request, subpoena, or

order is issued. The Designating Party shall bear the burdens and the expenses of seeking

protection in that matter or proceeding of its Protected Material. Nothing in these provisions

should be construed as authorizing, requiring or encouraging a Receiving Party to disobey, or to

risk contempt of, a lawful directive from another court.

        In the event that Discovery Material is produced to a Non-Party as a result of a discovery

request, subpoena, or an order issued in other litigation, or some other form of legal process from

any court, federal or state regulatory or administrative body or agency, legislative body or other

person or entity, such Discovery Material shall continue to be treated in the Action in accordance

with any designation as Protected Material.

XVI.    NON-PARTIES

        Any Party, in conducting discovery from Non-Parties in connection with the Action, shall

provide any Non-Party from which it seeks discovery with a copy of this Order so as to inform

each such Non-Party of his, her or its rights herein. If a Non-Party provides discovery to any

Party in connection with the Action, the provisions of this Order shall apply to such discovery as


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if such discovery were being provided by a Party. Under such circumstances, the Non-Party shall

have the same rights and obligations under the Order as held by the Parties to the Action.

XVII. NOTICES

        All notices required by this Order must be provided in writing to Outside Counsel of

record for each Party and, if applicable, in writing to a Non-Party. Any of the notice

requirements herein may be waived in whole or in part, but only in writing signed by an attorney

for the Designating Party.

XVIII. AMENDMENT OF ORDER

       Nothing herein shall preclude any Party from seeking to amend this Order in writing for

good cause shown.

XIX.    MISCELLANEOUS

        A.     Right to Assert Other Objections: By stipulating to the entry of this Order, no

               Producing Party waives any right it otherwise would have to object to disclosing

               or producing any information or item on any ground not addressed in this Order.

               Similarly, no Producing Party waives any right to object on any ground to the

               admissibility or use in evidence of any of the material covered by this Order.

        B.     Governing Law: Except to the extent that federal law may be applicable, this

               Order is governed by, interpreted under, and construed and enforced in

               accordance with the laws of the State of New York, without regard to conflict of

               law principles. Any dispute between the parties regarding this Order shall be

               resolved by making an appropriate application to this Court in accordance with

               the Rules of the Court and other applicable rules.




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        STIPULATED AND AGREED this 5"1,day of December, 2016.


                                            KLUGER, KAPLAN, SILVERMAN,
                                            KATZEN &L~~~
                                            By:_ _ _ _~~
                                                      ........- - - -

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' c                                         Counsel/or Plaintiff



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                                            Counsel for Defendants




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                                          EXHIBIT A

                        Agreement To Be Bound By Protective Order

       I have been informed that on   ~~~~~~~~
                                                            , 2016, the U.S. District Court for the

Southern District of New York entered a protective order in litigation captioned American

Merchant Banking Group, Inc., v. Palladium Equity Partners, LLC, et al., No. 16-cv-07188

(PKC) (S.D.N.Y.) (the "Protective Order"). I have read the Protective Order and agree to abide

by the obligations of the Protective Order as they apply to me. I voluntarily submit to the

jurisdiction of the U.S. District Court for the Southern District of New York for purposes of any

proceeding related to the Protective Order, including my receipt or review of information that

has been designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL."




                                                     (Signature)


                                                     (Printed Named)


                                                     (Title or Position)


                                                     (Company)




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